                Materials Relating to
Vanderbilt University Medical Center




                        EXHIBIT 1




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Social media posts spark calls to investigate Tenn.’s VUMC
By KIMBERLEE KRUESI September 21, 2022




                               NASHVILLE, Tenn. (AP) — Tennessee Gov. Bill Lee has called for an investigation into a
                               pediatric transgender health clinic after videos surfaced on social media of a doctor touting that
     Click to copy             gender-affirming procedures are “huge money makers” for hospitals and a staffer saying anyone
                               with a religious objection should quit.
RELATED TOPICS                 Vanderbilt University Medical Center came under fierce scrutiny Tuesday after conservative
Health                         political commentator Matt Walsh posted a series of tweets accusing the private hospital of
Social media                   opening its transgender health clinic because it was profitable, as well as criticizing some of the
Tennessee                      treatments VUMC provides to minors.
Nashville                      The posts included a video of one VUMC doctor in 2018 saying these “types of surgeries bring in a
Gay rights                     lot of money” and later saying that female-to-male bottom surgeries are “huge money makers.” A
Vanderbilt University          separate video shows another staffer warning that if employees do not want to participate in
                               transgender treatments then they “probably shouldn’t work at Vanderbilt,” and warned that
                               objections should be met with “consequences.”

                               “We should not allow permanent, life-altering decisions that hurt children or policies that
                               suppress religious liberties, all for the purpose of financial gain,” Lee, a Republican running for
                               reelection this year, said in a late Tuesday statement. “We have to protect Tennessee children,
                               and this warrants a thorough investigation.”



                               HOMELESSNESS
                               Attorneys for Jordan Neely's family call for                 Georgia lawmakers: Localities must apply
                               murder charges                                               homeless camp bans


                               Oregon lawmakers approve $200M for                           Georgia House seeks more improvements to
                               housing, homelessness                                        mental health



                               The governor did not specify what laws the Nashville-based hospital may have violated, but his
                               spokesperson told The Associated Press that they had passed along concerns to Attorney General
                               Jonathan Skrmetti.

                               Skrmetti’s office did not rule out an investigation when reached by the AP on Wednesday.

                               “We are aware of allegations of illegal conduct at the Clinic for Transgender Health at Vanderbilt
                               University Medical Center,” said spokesperson Samantha Fisher in an email. “General Skrmetti
                               will use the full scope of his authority to ensure compliance with Tennessee law.”

                               Fisher did not immediately respond to questions seeking clarity on what law specifically VUMC
                               may have violated.

                               In a statement, VUMC said it started its transgender health clinic in 2018 because transgender
                               people face higher risks for mental and physical health issues.

                               “VUMC requires parental consent to treat a minor patient who is to be seen for issues related to
                               transgender care and never refuses parental involvement in the care of transgender youth who
                               are under age 18,” said spokesperson Craig Boerner in a statement.

                               Boerner added that VUMC employees are allowed to decline to participate in any treatment they
                               find morally objectionable and prohibits discrimination against employees who do so.

                               “We have been and will continue to be committed to providing family-centered care to all
                               adolescents in compliance with state law and in line with professional practice standards and
                               guidance established by medical specialty societies,” he said.

                               Boerner declined to answer any additional questions, including how many treatments the clinic
                               has provided to minors and what types. The websites for VUMC’s transgender health clinic and
                               LGBTQ health programs were down Wednesday.

                               The social media posts have attracted the attention of key Tennessee Republican lawmakers —
                               many of whom are also running for reelection — vowing to further limit gender-affirming
                               treatments when the General Assembly reconvenes in January. Meanwhile, Tennessee’s U.S. Sen.
                               Marsha Blackburn praised Gov. Lee’s call for an investigation.

                               Nationally, Republicans have increasingly pushed to restrict LGBTQ rights in their effort to drive
                               the party’s base and push the bounds in already GOP-strongholds.

                               Tennessee over the years has been on the front lines among Republican-dominated statehouses
                               advancing anti-LGBTQ legislation. Just last year, Republican lawmakers and Gov. Lee banned
                               doctors from providing gender-confirming hormone treatment to prepubescent minors even
                               though advocates maintain that no doctor in Tennessee was doing so.

                               Lee also approved banning transgender athletes from playing girls’ public high school sports or
                               middle school sports after declaring that allowing transgender girls to participate would “destroy
                               women’s sports.”

                               Such transgender-focused legislation is commonly challenged in court. While Tennessee’s youth
                               transgender ban remains in effect, Arkansas is currently blocked from enforcing a similar version.
                               A federal judge in May blocked a similar law in Alabama.

                               In Texas, child welfare officials have been blocked from investigating three families of
                               transgender youth over gender-confirming care the minors have received.




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            (Conventionally Filed)




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                  PATH to Affirmative Medical Care for
               Transgender/Gender Diverse (TGD) Youth
                                           Cassandra Brady, MD
                        Ian M. Burr Division of Pediatric Endocrinology & Diabetes

                                         Melissa Cyperski, PhD
                 Department of Psychiatry & Behavioral Sciences, Division of Psychology

                                         Mary Romano, MD, MPH
                               Division of Adolescent/Young Adult Health




1




                                                                             OBJECTIVES

      • Review terminology and language commonly used by
        patients who identify as gender diverse
      • Define options for affirmative care that are available to
        gender diverse youth who are considering or seeking a
        medical affirmation
      • Describe ethical concerns and offer recommendations for
        healthcare providers who are caring for a gender diverse
        population



2



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                             VANDERBILT PEDIATRIC & ADOLESCENT
                               TRANSGENDER HEALTH (VPATH)
                                                   Pediatric Endocrinology




                             Cassandra Brady, MD           Jennifer Najjar, MD     Barbara Duffy, APRN, MSN, CPNP

              Adolescent                                                Psychiatry &                         Pediatric
               Medicine                     OB/GYN                   Behavioral Sciences                     Urology




            Mary Romano, MD, MPH           Amy Weeks, MD                Melissa Cyperski, PhD               John Pope, MD

                                                             MCJCHV




                           Christy Mullen, MSN, RN CPN    Carla Jackson, LMSW            Becca Hardin
                                  Case Manager           Pediatric Social Worker      Program Coordinator


3




                                                                                                   DEFINITIONS
       • Natal sex - sex assigned at birth, typically based on
         genitalia
       • Gender identity - sense of male/female/both/neither
       • Gender expression – presentation of identity such as
         through appearance, dress, or behavior
       • Sexual orientation - direction of an individual’s
         sexuality, classifiable according to the sex or gender
         of the persons whom the individual finds sexually
         attractive

4



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                                                         DEFINITIONS
       • Gender dysphoria - distress with natal sex assignment
         and gender identity
       • Transgender - adjective to describe individuals
         whose gender identity and sex assigned at birth do
         not correspond
       • Gender nonconformity - variation from cultural norm
         in gender expression
       • Gender nonbinary - assigned either sex at birth and
         identify as neither, both, or fluid gender

5




6



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    https://www.lgbtqiahealtheducation.org/publication/lgbtqia-glossary-of-terms-for-health-care-teams/


7




                                                                        PREVALENCE



    • Ability to estimate incidence and prevalence is limited
    • 390 per 100,000 adults (about 1:250 adults)
    • Rates as high as 0.6% of population
    • AMAB: 1 : 7,000 – 1 : 20,000
    • AFAB: 1 : 33,000 – 1 : 50,000
       • more recently this is being reversed
       • may differ pre/post puberty                                       (Harless et al., 2019; McNamara et al., 2016)




8



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     • Gen Z (1997 – 2012)
         • 1 in 6 (15.9%) said they are queer or
           transgender
         • 50% believe traditional gender norms
           outdated
         • 1 in 3 open to dating different genders
         • 1 in 5 open to polyamory
     • Millennials (1981- 1997)
         • 1 in 10 said they are LGBTQ+ with a high
           percentage (8.1%) declining to answer
     • In 2012, just 3.5% of American adults said
       they were LGBTQ+
                                                                                  (Clifton, 2021; Lang, 2021; Sonoma, 2020)



9




                                                          GENDER DIVERSE (TGD) YOUTH
                                                                  • Timing can be variable
                                                                      • May present early in childhood or
                                                                        with onset of puberty
                                                                      • Late onset may surprise parents
                                                                  • Fluidity in prepubertal children vs.
                                                                    adolescents
                                                                      • Children persist 12-27%
                                                                      • Adolescents near 100% persistence
                                                                  • Gender ratio 3:1 AMAB/AFAB in
                                                                    children; 1:1 in adolescents
                                                                  • Commonly comorbid with other
                                                                    conditions, such as ASD
     (de Vries et al., 2010; Drummond et al., 2008; Littman,
     2018; Strang et al., 2018; Wallien & Cohen-Kettenis, 2008)



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                                                GENDER DEVELOPMENT

     • Across lifespan
        •   2 – 3 yo: basic gender identity
        •   3 – 5 yo: gender stability
        •   5 – 7 yo: gender consistency
        •   10 yo+: identity, expression, role
            continue to develop and flex over time
     • Influenced by nature and nurture
         • Early experiences
         • Social learning
         • Biology

                                                                      (Ron-Li Liaw & Janssen, 2014)



11




                            BIOLOGY OF GENDER IDENTITY
     • Pre and postnatal exposure to androgens
        • Data is from DSD population
     • Gender dysphoria as high as 39% in monozygotic twin pairs       (Heylens et al., 2012)

        • Several studies suggest this but date back to early 2000s
     • Brain studies




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                               MENTAL HEALTH CONCERNS




13




                                  TGD MENTAL HEALTH RISKS

     Higher risk than sexually diverse (LGB) peers for experiencing
     negative health outcomes, substance use, trauma
     victimization, homelessness, stigma, and/or minority stress.

       • 53% of TGD youth felt sad or hopeless
       • 43.9% considered suicide vs. 11 - 20.3% of cisgender peers
       • 34.6% of transgender students attempted suicide
         vs. 5.5 – 9.1% cisgender peers

                                               (Cohen et al., 2018; Johns et al., 2019; National Resource Center
                                               for Mental Health Promotion and Youth Violence Prevention, n.d.)


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                                                                       DSM-5
                             GENDER DYSPHORIA
              “A marked incongruence between one’s
            experienced/expressed gender and assigned
               gender, of at least 6 months duration. . .

       The condition is associated with clinically significant
         distress or impairment in social, school, or other
                  important areas of functioning”


15




                       ROLES OF MENTAL HEALTH PROVIDER
     • Directly assess gender dysphoria
     • Provide supportive psychotherapy and family counseling
         • Explore identity
         • Enhance self-esteem and body image
         • Alleviate dysphoria and other psychosocial difficulties
         • Address stigma and internalized transphobia
         • Promote resilience
     • Assess and treat co-existing mental health concerns
     • Refer for medical intervention as appropriate
         • Provide psychoeducation and support decision making
     • Educate and advocate (Cyperski, Romano, & Brady, 2020)
     • Enhance social and peer support
         • Provide information and referrals, such as support groups
                                                                         (WPATH, 2011)



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                                               AFFIRMATIVE CARE FOR
                                            CHILDREN & ADOLESCENTS




17




                                    CREATING A WELCOMING
                            ENVIRONMENT FOR LGBTQ+ PATIENTS
                  WHAT TO DO                                             WHY
     • Establish gender-neutral bathrooms and        • Transgender individuals should feel
       avoid restroom signage that specifically        comfortable, safe using a restroom that
       designates one gender or another*               corresponds to their gender identity and
     • Avoid clinic names and signs that seem          expression
       welcoming to only one gender (e.g., Men’s     • Gender-specific clinic names or centers may
       Health Center)                                  not affirm or appeal to gender diverse
     • Create initial patient intake forms that        people
       collect information on the patient’s name,    • This information will help providers and staff
       pronouns, gender identity, sex assigned at      address the patient correctly, by name and
       birth, partner(s) and other family members      pronoun
     • Create electronic health record/forms that    • Help providers address individuals’ specific
       allow for collection of gender identity and     healthcare needs according to their natal
       natal sex that also include an anatomic         sex and current anatomy
       inventory


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                               INITIAL HEALTHCARE ENCOUNTER

       • Ask open ended questions about identity for all
       • Defer to your patient on language, name, pronouns
       • Be aware of confidentiality issues—particularly as they pertain to
         adolescents
       • Assess for safety at home, in school
       • Review risk-taking behaviors (e.g., sexual activity, substance use)
       • Assess mood (e.g., depression, self-harm behaviors, suicide)
       • Keep open mind and don’t make assumptions about individual
         path to affirmation



19




                                       OPTIONS FOR AFFIRMATION

     • Goal: to help people feel more confident and comfortable
     • Individualized approach to alleviating GD
       • Psychotherapy
       • Peer support (e.g., GSA)
       • Parental resources (e.g., PFLAG)
       • Social transition (e.g., school, legal name)
       • Resources for affirmative clothing (e.g., binders,
         gaff, swimwear)
       • Gender affirming hormones (i.e., pubertal blockers
         and/or hormone therapy)
       • Surgery
                                                                    (WPATH, 2011)


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                                     REAL-LIFE EXPERIENCE (RLE)

     • “The act of fully adopting a new or evolving gender role or
       gender presentation in everyday life”
     • Previous guidelines recommended living 12 months full-
      time in the desired gender role prior to medical
      intervention
       • Consider the person and individual needs (e.g., may be
         challenging to transition as a “female with a beard”)



                                                                  (Hembree et al., 2017)


21




                                      BEST PRACTICE GUIDELINES




22



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                                                       CASE EXAMPLE
                                                                  Ryan (12)




23




                                             “PUBERTAL BLOCKERS”
     • GnRH agonists
        • Leuprolide (Lupron), Supprelin (Histrelin/Vantas)
        • Fully reversible
        • Tanner stage 2/3
        • Significant increase GD with puberty

        • Effects on bone?
        • Fertility
        • Expense
            • ~$1500/month Lupron
            • ~$15,000 for Histrelin


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                                  ALTERNATE BLOCKING AGENTS

      • Medroxyprogesterone acetate PO or IM (MTF or FTM)
          • Inhibits the HPG axis and inhibits gonadal
            steroidogenesis
          • Menstrual suppression
      • Spironolactone PO (MTF)
          • Inhibits T synthesis and action
      • Finasteride PO (MTF)
          • Inhibits 5 α-reductase, blocking conversion of T to DHT


25




                               GENDER AFFIRMING HORMONES
     • Previously recommended start at age 16, but consider as early as 14 yo
     • Continue pubertal blockers
     • Fertility preservation and consent prior to initiation




26



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                                                                             RESULTS
       Masculinizing                                Feminizing
       • Cessation of menses                        • Decreased libido
       • Increased libido                           • Decreased facial and body hair
       • Increased facial and body hair             • Decreased oiliness of skin
       • Increased oiliness to skin                 • Breast tissue growth
       • Increased muscle/redistribution of         • Redistribution of fat mass
         fat mass
       • Deeper voice




27




                                                                 ESTRADIOL RISKS
     Likely increased risk              Possible increased risk              No increased risk
     • Venous thromboembolic            • High blood pressure                or inconclusive risk
       disease (blood clot or stroke)   • Elevated prolactin level           • Breast cancer
     • Gallstones                         or benign brain tumor
     • Elevated liver enzymes             (prolactinoma)
     • Weight gain                      • Infertility
     • Elevated triglycerides           • Type 2 Diabetes
     • Severe migraine headaches
     • Cardiovascular disease




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                                                  TESTOSTERONE RISKS
     Likely increased risk    Possible increased risk         No increased risk
     • Polycythemia           • Elevated liver enzymes        or inconclusive risk
       (increased number of   • Hyperlipidemia (elevated      • Loss of bone density
       red blood cells)         cholesterol)                  • Breast cancer
     • Weight gain            • Thromboembolism               • Cervical cancer
     • Acne                   • Infertility                   • Ovarian cancer
     • Male pattern balding   • Worsening of certain          • Uterine cancer
     • Sleep apnea              psychiatric problems
                              • Cardiovascular disease
                              • Hypertension
                              • Type 2 Diabetes

29




                                                                    SURGERY
     For minors:                              For adults:
     • Top surgery                            • Top surgery
       • Hormone therapy for 12 mo+             • Hormone therapy
       • Completed chest                          recommended for 6 mo+
         development                            • Letter from MHP
       • Support of both parents              • Bottom surgery
       • Followed and cleared by MHP            • Hormone therapy for 12 mo+
     • Bottom surgery not available             • Two letters of recommendation
                                                   • Community MHP
                                                   • Evaluation at VUMC
     Note: May vary by MCO

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                                                                  CASE EXAMPLE
                                                                                       Dylan (16)




31




                                NEXT STEPS TO SUPPORT YOUTH
                              Even if youth is not a candidate for GAH at this time, we can still…

          • Reduce dysphoria and manage distress or uncertainty
          • Treat co-occurring psychiatric symptoms
          • Give room to explore different options for gender expression
             • Normalize change and fluidity in exploration, especially for children
          • Help family have an accepting and nurturing response to their child
             • Answer questions, address concerns
             • Support pronoun use
             • Support decision making re: extent to which youth can safely express identity
          • Support youth in developing positive self-concept
          • Strive to remain available and maintain therapeutic relationship throughout
            social changes and/or physical interventions
          • Collaborate and advocate


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                                   ADDITIONAL CONSIDERATIONS




33




                                       ETHICAL CONSIDERATIONS
     • Confidentiality and consent
        • Coming out
        • Diagnosis
        • Documentation
     • Gatekeeping (Budge, 2015)
        • Discriminatory
         • Impact on working alliance and engagement
     • Risk of withholding letter of support and/or affirmative care
        •   Prolong gender dysphoria
        •   Suicidal ideation and attempt
        •   Contribute to appearance that may elicit abuse or stigmatization
        •   Health and safety (e.g., black market; binding)



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                                              FAMILY ENGAGEMENT
     LGBT young people who are HIGHLY REJECTED by their parents…

     3x more likely to use illegal drugs
     3x more likely to be at high risk for HIV and STIs
     6x more likely to report high levels of depression
     8x more likely to attempt suicide

       …compared to those who are only SLIGHTLY REJECTED by family.

                                                                        (Ryan, 2009)


35




         USE CORRECT PRONOUNS
           AND CHOSEN NAME.

          An increase of one context (e.g.,
        home, school, friends) where children
        are able to use their chosen name is
         associated with 5 unit decrease in
        depressive symptoms, 29% decrease
            in suicidal ideation, and 56%
           decrease in suicidal behavior.
                     (Russell et al., 2018)




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                                                                 CLOSING
     • Provide a safe and affirming space for patients to share their gender
       identity
     • Be aware of various options for treating gender dysphoria
     • Understand best practices in assessment and treatment of youth
        • Affirming and supportive
        • Comprehensive assessment
        • Suicide risk and frequent screening
        • Family, family, family
     • Collaboration with patient and caregivers
     • Consultation with colleagues, experts
                                                                       (GLSEN)



37




                                                           RESOURCES




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                                                                 PageID #: 0208
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                      EXHIBIT 1-D

             (Conventionally Filed)




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                      EXHIBIT 1-E

             (Conventionally Filed)




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                      EXHIBIT 1-F




Case 3:23-cv-00376 Document 113-1 Filed 05/19/23 Page 30 of 114 PageID #: 989
   A Primer for Transgender Health

Southeast/TN AIDS Education and Training
                Center
                Shayne Sebold Taylor, MD
                    Assistant Professor
       Departments of Internal Medicine and Pediatrics
                         1.30.2019

       Case 3:23-cv-00376 Document 113-1 Filed 05/19/23 Page 31 of 114 PageID #: 990   VUMC DEP 0130
Disclosures
• Unfortunately, no financial disclosures.
• I am a cis-gender, white, heterosexual female from an upper middle
  class background.




               Case 3:23-cv-00376 Document 113-1 Filed 05/19/23 Page 32 of 114 PageID #: 991   VUMC DEP 0131
Number of Adults Who Identify as
Transgender
                                                                 ~0.6% of adults – 1.4 million
                                                                 Americans – identify as transgender




       Case 3:23-cv-00376 Document 113-1 Filed 05/19/23 Page 33 of 114 PageID #: 992                                           VUMC DEP 0132
            http://williamsinstitute.law.ucla.edu/wp-content/uploads/How-Many-Adults-Identify-as-Transgender-in-the-United-States.pdf
Beach, L & Ehrenfeld, J et al. “Development of a natural language processing algorithm to identify transgender patients in the
Vanderbilt University Medical Center electronic
                                           Casehealth records system”
                                                 3:23-cv-00376        2016.113-1
                                                                 Document   1
                                                                                    Filed 05/19/23 Page 34 of 114 PageID #: 993   VUMC DEP 0133
                  A Growing Population
• According to Williams Institute Survey, approximately 262,000 adults
  identify as transgender in the Southeast (TN, AL, MS, LA, FL, KY, GA)
• By the year 2020, estimated 1,077 transgender individuals in the Vanderbilt system2




                                                         Figure Courtesy of Lea Davis, PhD 2016.


           Case 3:23-cv-00376   Document
                    2Data derived         113-1
                                  from VUMC        Filed 05/19/23
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                                                                                 new PageID  #: 994
                                                                                     individuals                   VUMC DEP 0134
                                                                                                 with ICD codes/keywords
                    added to EHR within the last year, linear extrapolation over the next 5 years.
      Leads to an (Exponentially) Growing Need


                                                                                 Adult Gender Clinic
Pediatric Gender Clinic




                 Case 3:23-cv-00376 Document 113-1 Filed 05/19/23 Page 36 of 114 PageID #: 995      VUMC DEP 0135
                                  Lyons, K. The Guardian, Travistock and Portman NHS Foundation, 2016.
Health Concerns for
Transgender People
Transgender communities:
• are currently underserved
• are more likely to delay care due to fear of
  discrimination or past negative experiences
• face challenges in finding friendly and
  knowledgeable providers
• higher rates of depression, anxiety, and
  suicide
• higher incidence of HIV/AIDs




                           Case 3:23-cv-00376 Document 113-1 Filed 05/19/23 Page 37 of 114 PageID #: 996            VUMC DEP 0136
                                                                                                           Grant et al., 2011.
                                                                        Source: Lambda Legal
Case 3:23-cv-00376 Document 113-1 Filed 05/19/23 Page 38 of “When
                                                            114 PageID        Isn’t Caring” study, VUMC
                                                                         #: 997
                                                                  Health Care                      2010 DEP 0137
              HEALTH DISPARITIES AMONG
                TRANSGENDER PEOPLE
• One in four (25%) respondents experienced a problem in the
  past year with their insurance related to being transgender,
  such as being denied coverage for care related to gender
  transition or being denied coverage for routine care because
  they were transgender.

• More than half (55%) of those who sought coverage for
  transition-related surgery in the past year were denied, and
  25% of those who sought coverage for hormones in the past
  year were denied.

                                                                                    Source: The 2015 U.S.
                                                                                     Transgender Survey

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          HEALTH DISPARITIES AMONG
            TRANSGENDER PEOPLE
• One-third (33%) of those who saw a health care provider in
  the past year reported having at least one negative
  experience related to being transgender, with higher rates
  for people of color and people with disabilities. This included
  being refused treatment, verbally harassed, or physically or
  sexually assaulted, or having to teach the provider about
  transgender people in order to get appropriate care.

• In the past year, 23% of respondents did not see a doctor
  when they needed to because of fear of being mistreated as
  a transgender person, and 33% did not see a doctor when
  needed because they could not afford it.


                                                                                      Source: The 2015 U.S.
      Case 3:23-cv-00376 Document 113-1 Filed 05/19/23 Page 40 of 114 PageID #: 999             VUMC
                                                                                       Transgender     DEP 0139
                                                                                                   Survey
Caring for the Transgender Patient




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A quick review of terms and nomenclature




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What do these terms mean to You?

      Sex
                                           Sexual
                                         Orientation
    Gender

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Sex
A medically assigned identity based on
physical packaging – our chromosomes,
hormones, and genitalia.

                  female, male, intersex
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Gender
Identity
Our inner sense of being a man, woman,
or another gender; “how the mind and
the heart regard the body.”
woman, man, trans woman, trans man, nonbinary
     Case 3:23-cv-00376 Document 113-1 Filed 05/19/23 Page 45 of 114 PageID #: 1004   VUMC DEP 0144
Gender
Expression
The ways in which we externally
communicate our gender identity to others,
such as through mannerisms, clothing,
body language, roles, hairstyles, etc.

feminine, masculine, androgynous, butch, femme
     Case 3:23-cv-00376 Document 113-1 Filed 05/19/23 Page 46 of 114 PageID #: 1005   VUMC DEP 0145
                             lesbian, gay, bisexual, MSM, WSW,
                              queer, asexual, pansexual, straight
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“Definitions”
    • Transgender
       • Describes people whose gender identity differs from their sex
         assigned at birth
    • Cisgender
       • A person who is not transgender




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“Definitions” Continued
     Transgender people are very diverse and use many
     different terms to describe themselves. These terms tend
     to change over time. Some of the more common terms in
     2018 include:

     • Transgender woman, trans woman, male-to-female (MTF)
        • A person assigned male at birth who identifies as a woman
     • Transgender man, trans man, female-to-male (FTM)
        • A person assigned female at birth who identifies as a man




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Gender identity ≠ sexual orientation
• Sexual orientation                • Transgender people
     • How a person identifies        can be any sexual
       their physical and emotional   orientation
       attraction to others
     • Dimensions include:
       desire/attraction, behavior,
       and identity
• All people have a sexual
  orientation and a gender
  identity

 • James S.E. HJL, Rankin, S., Keisling, M., Mottet, L., & Anafil, M.: The Report of the 2015 U.S.
   Transgender Survey. In. Washington, D.C.: National Center for Transgender Equality; 2016.

              Case 3:23-cv-00376 Document 113-1 Filed 05/19/23 Page 50 of 114 PageID #: 1009         VUMC DEP 0149
Shayne Taylor’s 5 pronged approach to caring
for Transgender Patients

    Affirming Clinic
                                                                Mental Health
      Space/EMR

                                Primary Care

     Surgical Care                                         Hormone Therapy
          Case 3:23-cv-00376 Document 113-1 Filed 05/19/23 Page 51 of 114 PageID #: 1010   VUMC DEP 0150
Primary Care: Screen the parts they have.
Assign no value or meaning to these parts.




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Primary Care Case Example
• 40yo male to female transgender patient here to establish care. Has
  been on hormone therapy (spironolactone and estradiol) for the last
  10 years prescribed by an endocrinologist in town who has just
  retired. Hopeful to have you take over hormone therapy. Has had top
  surgery (breast augmentation, 2003), but has not had any bottom
  surgery. Not currently sexually active, but interested in men. Other
  medical problems include HTN, treated with lisinopril.




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What parts does this patient have?
• Breasts, prostate, testes, penis
• Assign no value or meaning to these parts.
• Your goal is just to keep them healthy




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Screen according to Parts and Practices
• Screen according to the parts (and sexual practices)!
   • No good research on mammography in MTF trans patients, UCSF recs
     mammograms in patients >50 who have been on HRT >5 years
   • Prostate Cancer (and cervical cancer screen per guidelines)
      • Interpretation within the right context (PSA values may be off on
        hormone therapy, cervical atrophy on testosterone therapy)
   • Depression/anxiety/substance use/tobacco use
   • Suicidality
• Vaccines per ACIP guidelines, HepA/HepB if engages in sex with men


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 Mental Health Case Presentation

• 65yo male to female transgender veteran here to establish care.
  Served in Vietnam and has PTSD. Smokes 1ppd, has uncontrolled
  DM (last A1c 11%), history of CVA with residual right sided
  weakness, and CAD s/p NSTEMI. Came out as transgender 5 years
  ago. Has not yet found a doctor willing to do hormone therapy
  given her medical history. Came out to wife who is entirely
  unsupportive. Can’t divorce her due to her veteran benefits. They
  live in separate parts of the house, and go weeks without talking.
  Kids don’t want her around their children.


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Specific Mental Health Concerns

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Mental Health Concerns
• Suicide
• Mood Disorders
• Anxiety Disorders
• PTSD
• Body Image / Eating Disorders
• Substance Use Disorders
• Personality Disorders


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      Suicide
      • Rates of suicide attempts among gender and sexuality minorities
        ranging from 1.5-7x rate of heterosexual, cis-gendered peers
      • Transgender adults suffer the greatest suicide risk
              • Sparse data available; estimates range between 10%-45% of transgender
                and gender variant individuals attempt suicide




•   Haas A, al. e. Suicide and suicide risk in lesbian, gay, bisexual, and transgender populations: Review and
    recommendations. Journal of Homosexuality. 2011; 58: p. 10-51.

•   King M, al. e. A systematic review of mental disorder, suicide, and deliberate self harm in lesbian, gay and
    bisexual people. BMC Psychiatry. 2008; 8(70):   p. e1-17.
                                                 Case   3:23-cv-00376 Document 113-1 Filed 05/19/23 Page 59 of 114 PageID #: 1018   VUMC DEP 0158
        Mood Disorders
      • Elevated depression risk in transgender pts (44.1%)
      • Social stigma was positively associated with psychological distress, but is
        moderated by peer support from other transgender people
      • Strong evidence that depression symptoms improve dramatically with
        the initiation of gender affirmation treatments, including hormones




• Gorin-Lazard A, et al. Hormonal therapy is associated with better self-esteem, mood, and quality of life in transsexuals.
  Journal of Nervous and Mental Disorders. 2013; 201: p. 996-1000.
• Bockting W, Miner M, Swinburne Romine R, Hamilton A, Coleman E. Stigma, mental health, and resilience in an online sample of the US transgender
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                                           Case 3:23-cv-00376 Document 113-1 Filed 05/19/23 Page 60 of 114 PageID #: 1019                           VUMC DEP 0159
• Hoffmann B. An overview of depression among transgender women. Depression Research & Treatment. 2014: p. 1-9.
Gender Affirming Care




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What are your transition goals, and
how can I help you get there?




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Treatment Considerations: Female to Male




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Hormone Therapy: Female to Male
• 1 drug: Testosterone
• Can do injections or transdermal
• Injections are cheaper, can do subQ or IM.
• Weekly or every 2 weeks
• Transdermal: daily, more expensive, dermal absorption is variable.
  Have to be cautious about gel not touching partners/kids/pets
• Monitor levels for a trough testosterone level between 400-700


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Testosterone therapy (my practice)
• Start 25mg SubQ testosterone weekly (depends on which guidelines you
  read!)
• Dose adjust every 6-8 weeks with a goal of mid-dose injection total
  testosterone levels of 400-700ng/dL
• Usual dose is between 50-100mg weekly (some do injections every 2
  weeks, with double the dose)
• Prior to starting: CBC, CMP, A1c, Lipid panel (+/- estradiol, testosterone
  baseline)
• Lab monitoring: ALT, HCT, Total testosterone
• Once on stable regimen, can space labs to q6months, and then
  q12months
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Timeline of expected changes




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                                                                                                 VUMC DEP 0165
Surgical Therapy: Female to Male
• Mastectomy with chest reconstruction
• Metoidioplasty (uses current tissue from clitoral enlargement to make
  a neo-phallus)
• Phalloplasty (uses graft tissue, usually radial/forearm to make a
  neophallus)
• More on this in a future webcast by Dr. Julian Winocour




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Treatment considerations Male to Female




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Hormone Therapy: Male to Female
• Goal: suppress testosterone, add estrogen
• Androgen blockers: sprinolactone used most frequently
   • Monitor BMP, BP
• Estrogen: pills, patches, injections each with risks and benefits
• Pills are easy and CHEAP ($4 generic list at Wal-Mart, but highest risk of VTE)
• Injections can be subQ, usually weekly (dosing is different for estradiol
  cypionate vs estradiol valerate)
• Progesterone: data isn’t great, may have some use with breast/nipple
  contour when first beginning treatment, increases VTE risk. Short term use
  only
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The controversy of Estradiol levels.
• No real consensus
• Endocrine guidelines: goal for estradiol level between 100-200pg/dl
• Many others smart people aim goal of 300-500pg/dl
• Planned Parenthood approach: based on symptomatic response
  without lab monitoring
• My practice: still figuring it out! If patient’s are unhappy a level
  between 100-200, can consider targeting higher levels



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Timeline of Expected Changes




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                                                                                                     VUMC DEP 0170
Ancillary considerations
• Voice therapy
• Hair removal- laser vs electrolysis
• Hair transplant for bald/balding transwomen




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Surgical Therapy: Male to Female
 • Electrolysis/laser hair removal
 • Facial feminisation surgery
 • Tracheal shave
 • Breast augmentation, chest reconstruction
 • Orchiectomy
 • Penectomy
 • Vaginoplasty



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Non-binary patients
• Patients that may not identify with either sex, or identify with
  features of both sexes
• Often prefer they/them pronouns
• THE SAME RULES APPLY!
• “What are your transition goals and how can I help you get there?”
• Low doses of HRT, chest surgery are often desired.




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Peds Case #1

 4yo caucasian female presents to PCP for WCC. Mother is
 concerned that the patient only wants to wear her brother’s
 clothes. She tells people she wants to be a man when she grows
 up, and corrects everyone who calls her pretty to tell her that
 she’s handsome. The mom has even caught the child stuffing a
 pair of socks in her underwear to make it look like she had a
 penis. The mother is very concerned and wants to know if this is
 just a phase or something more serious.


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                                                                                                  45VUMC DEP 0174
 What do you do for this
patient? What do you tell
         mom?


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                                                                                  46VUMC DEP 0175
Social transitioning

• Reversible
• Child lives as their identified gender by adopting
  hairstyle, clothing, pronouns, possibly new name
• Requires plan for disclosure to friends and family,
  cooperation with school




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                                                                                               47VUMC DEP 0176
Peds Case #2
Now your patient is 11 years old and is here for WCC. She
has a short haircut, is wearing boy’s clothes and remains
persistent that she identifies as male. On exam she has
tanner stage 2 breast and pubic hair development. She
has not had her first menstrual period. HEADSS
assessment is positive for bullying and feelings of
isolation. She has tried smoking cigarettes with some
older kids at school. She is active in athletics, specifically
soccer and basketball.


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 Now, how is this case
      different?
What do you tell mom?


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Gender dysphoria that intensifies with
puberty, will rarely subside.

Persistent. Insistent. Consistent.



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Puberty suppression: GNRH agonists
• Prevents the development of secondary sexual characteristics that
  may result in increased body dysmorphia and comorbid anxiety and
  depression
• Prevents secondary sexual traits would require multiple surgeries to
  reverse if patient were to fully transition (i.e. breast removal,
  electrolysis)
• Allows the patient and family more time to fully explore the patient’s
  gender identity
• Completely reversible

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Cross Gender Hormone Therapy
 • Requires good psychosocial support, stable mental health,
   responsible medication compliance, informed consent of
   risks etc.
 • If the patient underwent pubertal suppression, some
   benefit to starting at the time when age matched peers
   would also be going through puberty, other guidelines
   recommend to start at 16
 • Patient will be infertile if previously underwent pubertal
   suppression
 • If patient underwent natural puberty, can start hormones at
   any time
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Some meaningful stories/quotes
• “I’ve known I was a woman all of my life. The first time I tried coming
  out as trans to my parents I was 17, they scheduled the exorcism for
  that night. And then three more after that.”
• “I came out as trans in the 1990s. I got a breast augmentation and
  was living as a woman. My dad died in the early 2000s. My mom said
  to me, you can either continue to do this or you can choose your
  family. I was scared. I missed my dad. I didn’t want to lose my mom
  too. She gave me the money to get my implants taken out. I went
  back to the surgeon, and he just looked at me- like what are you
  doing here? I said, don’t ask. Just take them out. Now 15 years later,
  I’m finally ready to live my authentic true self.”

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And the #1 reason why I do this.




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RECAP Final points
• Be nice, compassionate physicians, nurses, providers. These
  patients often have negative interactions with healthcare
  providers
• Ask your TG patients what transitioning means to them, individual
  decisions different for each pt. Ask them how you can help them
  reach their goals.
• Screen your TG patients based on the anatomy/organs/tissue that
  they have
• Ask about pronouns, use them. Apologize if you mess up (you will)
  and move on.
• Like my patients, my clinic is always in transition! We are learning
  to be patient and enjoy the journey. We have learned so so much.
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Resources
• UCSF Guidelines
• Endocrine Society
• WPATH/USPATH (World/US Professional Association of Transgender
  Health)
• Rainbow Health Ontario
• Fenway Health
• University of British Columbia
• Facebook! (seriously)

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                      EXHIBIT 1-G

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                      EXHIBIT 1-H




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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

BONGO PRODUCTIONS, LLC, ROBERT                     )
BERNSTEIN, SANCTUARY PERFORMING                    )
ARTS LLC, and KYE SAYERS,                          )
                                                   )
       Plaintiffs,                                 )
                                                   )
       v.                                          )              Civ. Action
                                                   )                   3:21-cv-00490
                                                                  No. ______________
                                                   )               Judge Trauger
CARTER LAWRENCE, Tennessee State Fire              )
Marshal, in his official capacity,                 )
CHRISTOPHER BAINBRIDGE, Director of                )
Codes Enforcement, in his official capacity,       )
GLENN R. FUNK, District Attorney General           )
for the 20th Judicial District, in his official    )
capacity, and NEAL PINKSTON, District              )
Attorney General for 11th Judicial District, in    )
his official capacity,                             )
                                                   )
       Defendants.                                 )


                     DECLARATION OF SHAYNE SEBOLD TAYLOR, MD

Preliminary statement

   1. My name is Shayne Sebold Taylor, MD. I have been retained by counsel for Plaintiffs as

       an expert in connection with the above-mentioned litigation. I have actual knowledge of

       the matters stated herein.

   2. I am an Assistant Professor of Internal Medicine and Pediatrics at Vanderbilt University

       Medical Center and the Monroe Carrell Jr. Children’s Hospital at Vanderbilt in Nashville,

       Tennessee.

   3. I am licensed in the state of Tennessee to practice medicine (TN License #55151).




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   4. I am board certified in both Internal Medicine and Pediatrics by the American Board of

      Internal Medicine and the American Board of Pediatrics, respectively.

   5. I obtained my undergraduate degree at Emory University with a BS in Biology and a BA

      in Women and Gender Studies. I received my medical degree from Drexel University

      College of Medicine and completed my Internal Medicine and Pediatrics residencies at

      Vanderbilt University Medical Center.

   6. I have lived and practiced medicine in the state of Tennessee since 2014.

   7. Additional information about my professional background and experience is outlined in

      my curriculum vitae, a true and accurate copy of which is attached as Exhibit A to this

      report. In conjunction with serving as an Assistant Professor of Internal Medicine and

      Pediatrics at Vanderbilt, I am the creator and Lead Clinician of the Vanderbilt Clinic for

      Transgender Health, a multi-disciplinary patient-centered medical home for transgender

      adults. My clinical duties include providing primary care and transition-related care

      (particularly hormone therapy), as well as providing care navigation with specialists

      across the Vanderbilt medical community. I have over 700 transgender patients under my

      care with a 3-6 month waitlist to be seen for services. The majority of my patients reside

      in Middle TN, however I have patients traveling 3-4 hours to come to the clinic spanning

      from Memphis to the west and Kingsport to the east.

   8. In addition to my clinical work, I provide guidance to physicians throughout Vanderbilt

      and Middle Tennessee who care for transgender patients. I do this by giving grand

      rounds, presentations to medical students and residents, and training to various

      community providers on the importance of culturally competent care for the transgender

      patient.




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   9. As part of my practice, I stay current on medical research and literature relating to the

      care of transgender persons and patient’s suffering with gender dysphoria.

   10. I am a member of the World Professional Association of Transgender Health (WPATH),

      American Academy of Pediatrics (AAP), American College of Physicians (ACP), Alpha

      Omega Alpha (AOA) medical honor’s society, and the Gay and Lesbian Medical

      Association (GLMA).

   11. I am being compensated $350/hour for my time preparing this testimony. My

      compensation does not depend on the outcome of the litigation, the opinions I express, or

      the testimony I provide.

Sex, Gender, and Gender Identity

   12. The sex of a child is most often determined after delivery based on the visual appearance

      of an infant’s external genitals.

   13. Research has identified that determination of sex is far more complex than what is seen

      on genital exam. Instead, sex is a complex compilation of multiple factors including

      one’s chromosomal make up (XX for those assigned female at birth, XY for those

      assigned male at birth), gonadal sex (presence of ovaries or testes), fetal hormonal sex

      (production of sex hormones by the fetus or exogenous exposure of sex hormones to the

      developing fetus), pubertal hormonal sex (the change in hormonal milieu that results in

      the development of secondary sexual characteristics- facial hair and deep voice for those

      assigned male at birth, breasts and menstrual cycles for those assigned female),

      hypothalamic sex (variations in brain structure and function as a result of embryonal

      exposure of sex hormones), and gender identity.




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   14. For each of the above factors that contribute to the development of sex, there can be

      variations. Sex related characteristics do not always align as either completely male or

      completely female. For example, many children are born with ambiguous genitalia, and

      as a result it is difficult to assign these infants as either male or female at birth. These

      patients are often identified as intersex, which is one of many disorders of sexual

      development (DSD). These children often see multiple specialists throughout their

      lifespan. Other examples of DSDs are those of chromosomal differences. The typical

      human chromosomal make up includes 46XY for males and 46XX for females. However,

      in male patients with Kleinfelter’s syndrome their chromosomal makeup is 47XXY.

      These chromosomal male individuals have an extra X chromosome. The results include

      breast development and small testes, in addition to other physical findings. Patients with

      Turner Syndrome are 45XO. These female individuals are missing an X chromosome,

      and as such many of them do not develop normal female puberty and are often infertile.

      These variations are common. The Monroe Carrell Children’s Hospital at Vanderbilt has

      an entire clinic to cater to the medical needs of this patient population.

   15. Gender identity is a person’s inner sense of belonging to a particular gender. Identifying

      as male or female is a core component of one’s overall identity. Every person has a

      gender identity. Research has shown that children begin to develop and express their

      gender identity during their toddler years, at around the age of 3 years old. It has a strong

      biological basis and cannot be changed.

   16. Scientific research has discovered many biological reasons for how an individual

      develops a gender identity. Complex interactions between hormones, chromosomes, and

      the developing embryo in utero are at the center of these theories.




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   17. From a medical perspective, in the event that one’s gender identity does not match their

      sex assigned at birth, i.e. in transgender people, one’s gender identity should be the

      determining factor of their sex. The medical consensus recognizes that when one’s sex

      related-characteristics are not in alignment, a person’s gender identity is the determining

      factor, more important than the presence of their genitals, their chromosomal analysis, or

      their hormone levels.

Gender Dysphoria and its Treatment

   18. Transgender people have a gender identity that differs from the sex that was assigned to

      them at birth.

   19. This lack of alignment of assigned sex and gender identity can result in severe distress,

      depression, anxiety. This constellation of symptoms is termed gender dysphoria.

   20. Treating gender dysphoria results in significant improvement in the quality of life, mental

      and physical health of transgender persons. Transgender people undergoing treatment for

      their gender dysphoria can live long, happy, productive and meaningful lives.

   21. Gender transition for those that suffer from Gender Dysphoria is a lengthy process with

      multiple components. These components may include social transition, medical

      transition, and surgical transition. Each transgender individual approaches transition

      differently, as the decision to undergo any aspect of transition is deeply personal and

      depends on the degree and type of dysphoria the patient is experiencing.

   22. The social transition is a formative aspect of a transgender person’s experience. Social

      transition can include going by a different name, using different pronouns, or changing

      one’s haircut, or clothing to match one’s gender identity.




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   23. As part of the social transition, a transgender individual will make changes that will allow

      them to seamlessly incorporate into their communities with a presentation that matches

      with their gender identity. This may mean using a restroom facility that matches their

      gender identity, in the same way that a non-transgender person uses the bathroom that

      matches their gender identity.

   24. In addition to social transition, transgender individuals often interface with a healthcare

      setting for medical or surgical intervention. Medical transition often includes the

      prescription of hormones so that the transgender person can develop secondary sexual

      characteristics of the sex with which they identify. This may mean that a transgender man

      (or someone who was assigned female at birth) may grow facial hair and develop a much

      deeper voice as a result of testosterone treatment. Alternatively, transgender women

      (assigned male at birth), may develop breast tissue and a more feminine body fat

      distribution as a result of estrogen that may be prescribed by a clinician.

   25. Some transgender patients seek surgical transition. These surgical procedures further

      change the patient’s anatomy so that their outward appearance matches more closely with

      their gender identity.

   26. Given the medical and surgical treatments that transgender patients may encounter, they

      are often no longer presenting as their sex assigned at birth. This will further create stress

      and anxiety for bathroom users, both transgender and otherwise. An example is as

      follows: a transgender man has been on testosterone therapy for many years. As a result,

      he has a full-grown beard. He has also had surgical removal of his breast tissue. He wears

      men’s clothing and speaks in a deep voice. It is harmful for that man to have to use a

      woman’s restroom.




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Transgender in Tennessee

   27. According to a Williams Institute study in 2016, there are approximately 1.6 million

      people in the United States that identify as transgender. In this same study, it was

      revealed that an estimated 31,000 transgender people (or 0.6% of the state’s population)

      live in the state of Tennessee. Tennessee is ranked 10th in the nation for its percentage of

      transgender individuals (Hawaii being the highest and North Dakota with the lowest).

   28. H.B. 1182 requires a sign that specifically mentions the term “biological sex.” This term

      has no place or meaning in either science or medicine, because experts who study sex and

      gender understand that the biology and identity of a human being is far more complex

      than what can be identified on an individual’s genital anatomy or chromosomal

      evaluation. Having this controversial political term, one that has no value or meaning in

      medicine or science, posted on every public bathroom in the state of Tennessee is

      dangerous and distressing, further running the risk of worsening gender dysphoria for

      those that suffer from the condition.

   29. The 31,000 transgender individuals in Tennessee work in Tennessee businesses, go to

      Tennessee schools and are active members of their families, communities and churches to

      name a few. Transgender Tennesseans deserve privacy when they use the restroom.

      Using the restroom at a business is often necessary and should be routine. A transgender

      patron should not have to effectively disclose their transgender status by using the

      designated restroom that matches their sex assigned at birth. A transgender person should

      be able to use the restroom that matches with their gender identity. A large posted sign

      referencing “biological sex” on every business is stigmatizing and isolating for




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                           Shayne Sebold Taylor, M.D.
                               Curriculum Vitae
Contact Information:        Office Address:      Vanderbilt Internal Medicine and Pediatrics
                                                 7069-B Highway 70S
                                                 Nashville, TN 37221
                            Office Phone:        (615) 538-3668
                            Email Address:       shayne.s.taylor@vumc.org

EDUCATION

       Undergraduate:

              EMORY UNIVERSITY, Atlanta, GA
              Degree:    Bachelor of Science in Biology and
                         Bachelor of the Arts in Women and Gender Studies
              Dates:     August 2006 – May 2009

              CONNECTICUT COLLEGE, New London, CT
              Dates:      August 2005 – May 2006

       Professional or Graduate School:

              DREXEL UNIVERSITY COLLEGE OF MEDICINE, Philadelphia, PA
              Degree:     Doctor of Medicine
              Dates:      August 2010 – May 2014

       Postgraduate Training:

              VANDERBILT UNIVERSITY, Nashville, TN
              Internal Medicine & Pediatrics Internship & Residency Program
              Dates:        July 2014-August 2018

LICENSURE AND CERTIFICATION

   •   TN Medical License (# 55151)                            1/14/2016-09/30/2020
   •   Board Certification American Board of Pediatrics        10/2018
   •   Board Certification American Board of Internal Medicine 08/2019

ACADEMIC APPOINTMENTS

       Assistant Professor of Medicine
       VANDERBILT UNIVERSITY SCHOOL OF MEDICINE, Nashville, TN
       August 2018 – present




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HOSPITAL APPOINTMENTS

       Active Medical Staff
       VANDERBILT UNIVERSITY SCHOOL OF MEDICINE, Nashville, TN
       August 2018 – present

PROFESSIONAL ORGANIZATIONS

   •   American Academy of Pediatrics (AAP)
   •   American College of Physicians (ACP)
   •   Alpha Omega Alpha (AOA)
   •   Cumberland Pediatrics Foundation (CPF)
   •   National Med-Peds Residency Association (NMPRA)
   •   Gay and Lesbian Medical Association (GLMA)
   •   World Professional Association for Transgender Health (WPATH)

PROFESSIONAL ACTIVITIES

   •   Vanderbilt University, Med-Ped Residency Program
          o Physicians for Reproductive Health Board Member, 2014-2017
          o LGBTI Health Provider, 2015-present
          o World Professional Association for Transgender Health (WPATH) Conference
              Attendee, February 2016
          o Nexplanon Resident Education Organizer, 2016-2017
          o Vanderbilt Gender Clinic Committee Member, 2016-present
          o Page Campbell Moonlighter, 2016-2018
          o Bioethics Certificate Program Participant, 2017-2018
          o Med-Peds Wellness Chief, 2017-2018
   •   Vanderbilt University Medical Center
          o Lead clinician, Vanderbilt Clinic for Transgender Health 2018-present
                  § Providing direct clinical care to >600 transgender patients in the Southeast
                     region
                  § Coordinating care between all specialties at VUMC for transgender care
                  § Regional consultant to local primary care physicians
   •   Expert witness to Lambda Legal 2020-present

AWARDS AND SPECIAL RECOGNITION

   •   Writer’s Award from The Emory University President’s Commission on the Status of
       Women, “Young Venuses and Old Hags: a feminist critique on the media’s portrayal of
       aging women,” 2009
   •   Pathology Honor Society at Drexel University, 2010
   •   The Lila Kroser Scholarship at Drexel University, 2013
   •   The Drexel University Peer Commendation for Professional Behavior, 2014
   •   Alpha Omega Alpha, Drexel University College of Medicine, 2014




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   •   Excellence in Patient Experience, VUMC 2020

TEACHING ACTIVITIES

   •   Creator for the LGBTQ Health Curriculum for Residents, 2017-present
   •   Research mentor to Mollie Limb, VUSM student, 2018-present
   •   QI research mentor to Kalin Wilson, VUSM student, 2018-present
   •   Faculty partner with Internal Medicine Residency Social Medicine Club 2019
   •   Contributor to Internal Medicine Resident Handbook 2019
   •   Foundations of Healthcare Delivery faculty
   •   Integrated Science Course faculty
   •   ACE primary care rotation faculty

PUBLICATIONS AND PRESENTATIONS

Presentations:

   “Caring for the Transgender Patient: With little evidence, but a lot of love.” Vanderbilt
   University Division of Infectious Disease Grand Rounds and Division of General Internal
   Medicine Grand Rounds, 4/4/2019 and 5/22/2019.

   “A Primer for Transgender Health.” Southeast/TN AIDS Education and Training Center,
   webcast 1/30/2019.

   “The Clinic for Transgender Health: A Passion Project for our Patients.” Vanderbilt
   University Program for LGBTQ Health Grand Rounds, 11/14/2018.

   “Caring for the Transgender Patient.” Vanderbilt University School of Nursing, 10/23/19.

   “Caring for the transgender patient, with little evidence but a lot of love. Lessons learned creating a
   Transgender Health Clinic in the South.” American College of Osteopathic Obstetricians and
   Gynecologists. Virtual Presentation 3/20/2020.


Articles in Refereed Journals:

   Taylor, S.S., Ehrenfeld, J.M. “Electronic Health Records and Preparedness: Lessons from
   Hurricanes Katrina and Harvey” Journal of Medical Systems. (2017) 41:173.

   Gamble, R, Taylor SS, Ehrenfeld J.M., Huggins, A. “Trans-specific Geriatric Health
   Assessment (TGHA): An inclusive clinical guideline for the geriatric transgender patient in a
   primary care setting.” Maturitas, Volume 132, 70 - 75




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RESEARCH PROJECTS

Healthcare Needs and Barriers Among New Patients at a Clinic for Transgender Health
IRB NUMBER: 192299
PI: Shayne Taylor

Assessing LGBTQ+/Racial Minority Trainee's Experiences with Social Support, Loneliness, and Feelings of
Anxiety or Depression During Training
IRB #210225
PI: Hannah Lomzenski
Faculty Advisor: Shayne Taylor




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https://www.robbinsplasticsurgery.com/before-after-transgender-female-male-nashville/                                                                                      Go    MAY    SEP   FEB       👤   ⍰❎
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                                                                                                                                                       615-237-5552                  ESPAÑOL


                           PLASTIC SURGERY         BEFORE AND AFTER                MEDSPA          VIDEO GALLERY             FINANCING          OUR PRACTICE        HOME        CONTACT US




                                                                                                                                                    SCHEDULE A CONSULTATION




                                   Transgender-Female
                                                                                                                                                      FIRST NAME          LAST NAME

                                                                                                                                                      EMAIL




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                                      After Pictures

  Home — Plastic Surgery Before and After Pictures in Nashville, TN — Transgender-Female to Male
  Before & After Pictures In Nashville, TN


  T R A N S G E N D E R - F E M A L E TO M A L E B E FO R E & A F T E R P I C T U R E S
  IN NASHVILLE, TN


     Patient 7437: 28 year old female who underwent removal of breast tissue as well as
     liposuction.

          Before                                                          After




                                                                                                                                                  MEET
                                                                                                                                                  Doctor Chad
                                                                                                                                                  Robbins
                                                                                                                                                  Board Certified Plastic Surgeon

                                                                                                                                                               READ MORE




                                                                                                                                                      Confidence At
                                                                                                                                                      Any Age



     Patient 10237: 15 year old female to male who underwent removal of breast tissue.                                                                  20s                   30s

          Before                                                          After




                                                                                                                                                        40s                 50s+




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                                                                                                                                                    BREAST
     Patient ST486819: 29 year old female to male who underwent removal of breast
     tissue as well as liposuction.

          Before                                                          After                                                                     BODY

                                                                                                                                                    MEDSPA




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     Patient 5869: 20 year old female to male who underwent removal of breast tissue
     as well as liposuction.

          Before                                                          After




                                                                                                                                                            MEDSPA

                                                                                                                                                        SKIN STORE




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     Patient 6635: 24 year old female to male who underwent removal of breast tissues
     as well as liposuction.

          Before                                                          After




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                            BEFORE &                                                     OUR                                                  CURRENT
                             AFTER                                                      VIDEOS                                                SPECIALS




                            SOCIAL




                                                                                                                              LOCATION:

                                                                                                                        503 Spruce Street
                                                                                                                        Nashville, TN 37203

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                                                                                                                             615-237-5552




                  MEET OUR STAFF                 OUT OF TOWN GUESTS                          PATIENT FORMS                    FAQS            SEASONAL NEWSLETTERS




                                                   C A L L T O D A Y T O S C H E D U L E A C O N S U LT A T I O N
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                                                                            503 Spruce Street
                                                                            Nashville, TN 37203



                    HOME       PLASTIC SURGERY      BEFORE AND AFTER           MEDSPA        VIDEO GALLERY         COSMETIC SURGERY FINANCING       OUR PRACTICE       CONTACT


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     IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF
                               TENNESSEE


L.W., et al.,                                     )
                                                  )
       Plaintiff,                                 )
                                                  )
v.                                                )      Civil Action No. 3:23-CV-00376
                                                  )
JONATHAN SKRMETTI,                                )
                                                  )
       Defendant.                                 )

                    DECLARATION OF C. WRIGHT PINSON, MBA, MD

I, C. Wright Pinson, MBA, MD, hereby state as follows:

       1.       My name is C. Wright Pinson, MBA, MD. I am over the age of eighteen and

have personal knowledge of the facts set forth herein.

       2.       I am the Deputy CEO and Chief Health System Officer of Vanderbilt

University Medical Center (“VUMC”), an academic medical center with its principal offices

in Nashville, Tennessee. I have served in this capacity from April 30, 2016 to the present.

In this role I have senior management responsibility for all aspects of the health care

business and operations of VUMC.

       3.       I am submitting this Declaration in connection with the lawsuit captioned

above.

       4.       I am familiar with the provisions of 2023 Public Chapter 1, codified at Tenn.

Public Acts §§ 68-33-101, et seq. (hereafter, the “Act”).

       5.       The Act prohibits a healthcare provider on and after July 1, 2023 (the

“Effective Date”) from knowingly performing or administering any “medical procedure” (as

defined in § 68-33-102(5) of the Act) to a minor, if the performance or administration of




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that medical procedure (as defined in the Act) is for the purpose of enabling a minor to

identify with or live as a gender other than their sex at birth, or treating discomfort or

distress from discordance between a minor’s assigned sex and their asserted identity. As

defined in the Act, “medical procedure” includes, but is not limited to, prescribing,

administering or dispensing any puberty blocker (as further defined in the Act) or hormone

(as further defined in the Act) (collectively referred to herein as “Hormone Therapy”).

       6.      Notwithstanding the prohibition discussed immediately above, the Act

provides that a medical procedure (as defined in the Act) which commences before the

Effective Date may continue to be performed or administered to a minor patient through

March 31, 2024, if the minor’s treating physician determines that ending the medical

procedure would be harmful to that specific patient. Pursuant to Section 68-33-103(b)(3)

of the Act, this determination must be certified by the treating physician, must include

specific findings by the treating physician which support such determination, and must be

documented in the individual minor patient’s medical record (the “Continued Care

Exception”).

       7.      After the Act was signed into law, VUMC reviewed the Act and determined

that on and after the Effective Date it could no longer offer any Hormone Therapy to minor

patients. VUMC has communicated this determination to its patients through

communications distributed through various media (including the US Mail, and

electronically to existing patients sent through MyHealth@Vanderbilt®, VUMC’s digital

patient health information portal).




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